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11
                                  UNITED STATES DISTRICT COURT
12                                     DISTRICT OF NEVADA
                                              -oOo-
13

14   UNITED STATES OF AMERICA,                     )
                                                   )     Case No.: 2:14-cr-232-GMN-NJK
                     Plaintiff,                    )
15                                                 )     GOVERNMENT’S RESPONSE TO
                                                   )     DEFENDANT’S MOTION TO DISMISS
16          vs.                                    )     INDICTMENT (DOC. #45) AND
                                                   )     DEFENDANT’S SUPPLEMENT TO
17   FREDERICK JOHN RIZZOLO,                       )     MOTION TO DISMISS INDICTMENT
                                                   )     (DOC. #49) AND DEFENDANT’S SECOND
18                                                 )     SUPPLEMENT TO MOTION TO DISMISS
                     Defendant.                    )     INDICTMENT (DOC. #55)
                                                   )
19

20
            COMES NOW, the United States of America, by and through its attorneys, DANIEL G.
21
     BOGDEN, United States Attorney, Phillip N. Smith, Jr., Assistant United States Attorney, and
22
     REBECCA J. SABLE, Trial Attorney, United States Department of Justice, Tax Division, and
23
     files this timely response in OPPOSITION to the Motion to Dismiss Indictment (Doc. #45),
24
     Supplement to Motion to Dismiss Indictment (Doc. #49) and Second Supplement to Motion to
           Case 2:14-cr-00232-GMN-NJK Document 77 Filed 09/22/16 Page 2 of 15



 1   Dismiss Indictment (Doc. #55), filed on November 25, 2015, December 22, 2015, and February 2,

 2   2016, respectively, by defendant FREDERICK JOHN RIZZOLO (“the Defendant”), by and

 3   through his attorneys Richard R. Tanasi, Esq. and Sigal Chattah, Esq., seeking to dismiss the

 4   Indictment.

 5   I.     STATEMENT OF RELEVANT FACTS

 6          A. Overview of the Charges

 7          The Defendant is charged via an Indictment with two counts of Willful Attempt to Evade

 8   and Defeat the Payment of Tax, in violation of 26 U.S.C. § 7201. Doc. #1. Specifically, Count

 9   One of the Indictment alleges that from on or about June 28, 2006, through on or about May 31,

10   2011, the Defendant evaded the payment of $1,723,340 in employment taxes for the calendar years

11   2000 through 2002, by concealing and attempting to conceal his assets from the IRS, making false

12   statements to the IRS, placing funds and property in the name of nominees and placing funds and

13   property beyond the reach of process. Count Two of the Indictment alleges that from on or about

14   March 31, 2008, through on or about May 31, 2011, the Defendant evaded the payment of

15   $861,075 in individual income tax for calendar year 2006, by the same manner and means

16   described above. Importantly, prior to the current Indictment, the Defendant has never been

17   charged with either offense.

18          B. Background of Prior Case

19          Since at least January 2000, the Defendant owned an entity called The Power Company,

20   Inc., which did business as The Crazy Horse Too (“the Club”), a very successful topless dancers

21   club in Las Vegas, Nevada. In the early 2000s, the federal government (including the IRS) began

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 1   investigating the Defendant, his father Bart (a purported 10% owner) and certain employees of the

 2   club for, inter alia, employment tax violations.

 3          Beginning in January 2000 and continuing through 2002, the Defendant and others at the

 4   Club made cash payments to certain employees as supplemental income, including floormen,

 5   bouncers, bartenders and shift managers, but they failed to report or maintain accurate records of

 6   these payments to the Club’s bookkeepers. As a result, the Defendant assisted in the filing of false

 7   Employer’s Quarterly Federal Tax Returns (Forms 941) with the IRS. For the twelve quarters

 8   extending from January 2000 through December 2002, the Defendant and the Club owed an

 9   additional $1,734,000 in unpaid employment taxes to the IRS.

10          At the same time that the Defendant was being investigated for employment tax crimes by

11   the IRS, federal authorities were also investigating the Defendant and The Power Company, Inc.

12   for other Title 18 offenses including racketeering violations.

13                  1. Prior Guilty Plea

14          On June 1, 2006, as part of a global plea agreement, the Defendant entered a pre-indictment

15   plea to conspiracy to defraud the United States by impeding, impairing, obstructing and defeating

16   the lawful functions of the IRS in the ascertainment, computation, assessment and collection of

17   income and employment taxes from January 1, 2000 through 2005, in violation of 18 U.S.C. § 371.

18   The Power Company, Inc. pleaded guilty to conspiracy to participate in a racketeering enterprise,

19   in violation of 18 U.S.C. § 1962(d).

20          As part of the Defendant’s and The Power Company, Inc.’s plea agreements, they agreed

21   to pay restitution to the IRS in the amount of $1,734,000, which represented both the employees’

22   and employer’s share of employment taxes from 2000 through 2002, of which the Defendant and

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 1   the Club had evaded assessment. As part of the plea agreement, the Defendant personally, and as

 2   the president of The Power Company, Inc., signed a closing agreement with the IRS that allowed

 3   the IRS to assess the $1,734,000 restitution amount.

 4          In addition to the tax restitution, The Power Company, Inc. also agreed to pay $10 million

 5   in restitution to Kirk and Amy Henry upon the sale of the Club for injuries and damages to Kirk

 6   Henry sustained at the Club. The Defendant and The Power Company, Inc. agreed to sell the Club

 7   within 12 months of the entry of the guilty plea. Further, The Power Company, Inc. agreed to

 8   forfeit a total of $4.25 million. On June 28, 2006, the Court entered an Order of Forfeiture as to

 9   The Power Company, Inc., creating a personal money forfeiture judgment of $4,250,000 under

10   Fed. R. Crim. P. 32.2(b)(1).

11          On January 23, 2007, the Defendant was sentenced to one year and one day in prison, three

12   years of supervised release, and a $250,000 fine. The Power Company, Inc. was sentenced to five

13   years of probation and a $500,000 fine. The Court held the Defendant and The Power Company,

14   Inc. jointly and severally responsible for making restitution to the IRS. See United States v. Power

15   Company, Inc., doing business as THE CRAZY HORSE TOO and FREDERICK JOHN RIZZOLO,

16   No. 06-CR-186, 2008 U.S. Dist. LEXIS 29086, 2008 WL 612207 (D. Nev. Feb. 28, 2008) (“Case

17   No. 06-cr-186”).

18                  2. Attempted Sale of the Club

19          The parties had anticipated that the Defendant’s $4.25 million forfeiture judgment would

20   be satisfied through the sale of the Club. However, when the Defendant failed to sell the Club

21   within the year given to him to do so under the plea agreement, the parties agreed to substitute the

22   Club and the property on which it sat for the United States to sell. Any proceeds were to be applied

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 1   to all of the Defendant’s outstanding obligations, including the $1,734,000 restitution to the IRS.

 2   Through no fault of its own, the United States was also unable to sell the property over the next

 3   two years. Ultimately, on or about July 1, 2011, an entity that held a priority interest in the Club

 4   and the property foreclosed on both for $3 million.

 5          Because the sale of the Club did not yield sufficient funds to satisfy the Defendant’s

 6   $4,250,000 forfeiture obligation, that obligation was not extinguished merely by substitution of

 7   assets. The criminal forfeiture money judgment of $4,250,000 is still outstanding and the

 8   Government may pursue substitution and forfeiture pursuant to Fed. R. Crim. P. 32.2(e) and 18

 9   U.S.C. § 1963(m). In fact, as recently as October 27, 2015, the Court authorized the substitution

10   and forfeiture of $50,000 pursuant to 18 U.S.C. § 1963(m). See Power Company, Inc., No. 06-

11   CR-186, Doc. 555.

12                  3. Revocation of Supervised Release

13          On July 21, 2011, U.S. District Court Judge Philip Pro found the Defendant in violation of

14   the conditions of his supervised release for failing to submit truthful and complete written reports

15   each month, incurring new credit charges, opening additional lines of credit or negotiating or

16   consummating any financial contracts without approval, and failing to cooperate and arrange with

17   the IRS to pay all past and present taxes, interest and penalties owed, file timely returns, and

18   showing proof of the same to his probation officer. Judge Pro sentenced the Defendant to an

19   additional nine months in prison, requiring him to self-surrender on September 14, 2011.

20          The Defendant appealed his revocation of supervised release to the Ninth Circuit Court of

21   Appeals. On April 3, 2012, the Ninth Circuit affirmed the sentence and determined that Judge Pro

22   had not abused his discretion. United States v. Rizzolo, 472 Fed. Appx. 638 (9th Cir. 2012).

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 1          C. Defendant’s 2006 Income Tax Liability

 2          Meanwhile, on December 10, 2007, while still incarcerated, the Defendant filed his

 3   individual income tax return for tax year 2006 with the IRS. The return was prepared by a tax

 4   preparer and the Defendant self-assessed his personal income tax liability of $921,495. The only

 5   payment that went towards this self-assessment was withholding in the amount of $98,832. Count

 6   Two of the current Indictment relates to the Defendant’s evasion of payment of $861,075 of this

 7   tax, which relates to the self-assessed tax and an estimated tax penalty of $38,412 as reported on

 8   his return. The IRS also issued Intent to Levy Collection Due Process Notices and collected an

 9   additional $16,471.

10          D. Procedural History

11          On July 9, 2014, a federal grand jury returned an Indictment against the Defendant alleging

12   two counts of Attempt to Evade and Defeat the Payment of Tax, in violation of Title 26, United

13   States Code, Section 7201. Doc. #1. On November 25, 2015, the Defendant filed a Motion to

14   Dismiss (“Defendant’s Motion”). Doc. #45. The instant Response by the Government to the

15   Defendant’s Motion is due September 22, 2016. Doc. #74. On December 22, 2015, the Defendant

16   filed a Supplement to his Motion to Dismiss (“Defendant’s Supplement”). Doc. #49. On February

17   2, 2016, the Defendant filed a Second Supplement to his Motion to Dismiss (“Defendant’s Second

18   Supplement”). Doc. #55.

19          E. The Defendant’s Motion

20          The Defendant asserts three main arguments in his Motion to Dismiss, two of which are

21   based on double jeopardy grounds and the third of which is that the Defendant is the subject of

22   vindictive prosecution. First, the Defendant argues that his previously pleading guilty to a

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 1   conspiracy charge in violation of 18 U.S.C. § 371 in Case No. 06-cr-186 makes his failure to pay

 2   his 2000 to 2002 employment taxes and 2006 individual income tax a single offense. Next, the

 3   Defendant argues that he has already been punished for both counts alleged in the current

 4   Indictment. Finally, the Defendant argues that the timing of the Indictment after the Defendant

 5   demanded an offset for the restitution and forfeiture orders in Case No. 06-cr-186 reflects a

 6   likelihood of vindictiveness.     The Defendant’s Supplement argues further that the instant

 7   prosecution is barred by the constitutional prohibition against double jeopardy and that he is being

 8   subjected to excessive punishment. The Second Supplement argues further that the Defendant is

 9   the subject of vindictive prosecution, and it also contains a demand for additional discovery. The

10   Government submits that all of the Defendant’s arguments are without merit and should be denied.

11   II.    DOUBLE JEOPARDY

12          A. Legal Standard

13          The Double Jeopardy Clause of the Fifth Amendment prohibits the Government from

14   “punishing twice, or attempting a second time to punish criminally for the same offense.” United

15   States v. Hickey, 367 F.3d 888, 891 (9th Cir. 2004) (quoting United States v. Ursery, 518 U.S. 267,

16   273 (1996)); see also U.S. Const. amend. V (“[N]or shall any person be subject for the same

17   offence to be twice put in jeopardy of life or limb.”).

18          To determine whether the second offense is the same as the first, courts analyze the offenses

19   under the Blockburger test.      Blockburger v. United States, 284 U.S. 299, 304 (1932).         In

20   Blockburger, the Supreme Court held that where the same act or transaction constitutes a violation

21   of two distinct statutory provisions, the test to be applied to determine whether there are two

22   offenses or only one is whether each provision requires proof of an additional fact which the other

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 1   did not. Id. Double jeopardy is not implicated if each violation requires proof of an element which

 2   the other did not. United States v. Vargas-Castillo, 329 F.3d 715, 720 (9th Cir. 2003).

 3             B. The Current Indictment Does Not Violate the Prohibition Against Double
                  Jeopardy
 4
                      1. Count One of the Indictment
 5
               With respect to Count One, the Defendant asserts that by pleading guilty to conspiring to
 6
     impede, impair, obstruct and defeat the lawful functions of the IRS with respect to the
 7
     ascertainment, computation, assessment and collection of employment taxes, the Government is
 8
     foreclosed from subsequently charging him with evading the payment of employment taxes for the
 9
     same years (2000 through 2002) involved in the conspiracy. The Defendant correctly identifies
10
     that Blockburger controls, but he then misapplies the Blockburger test to the facts present in the
11
     instant case. Consequently, his argument fails for two reasons: first, conspiracy and tax evasion
12
     each require proof of an element which the other does not; and second, the conduct alleged in
13
     Count One is temporally and factually distinct from that to which the Defendant previously pled
14
     guilty.
15
               First, conspiracy to defraud the United States and tax evasion each has elements not found
16
     in the other. For a tax evasion prosecution, the Government must establish the following elements:
17
     (1) willfulness; (2) existence of a tax deficiency; and (3) an affirmative act constituting an evasion
18
     or attempted evasion of the tax. See, e.g., United States v. Voorhies, 658 F.2d 710, 713 (9th Cir.
19
     1981). To establish a conspiracy to defraud the United States, the Government must establish the
20
     following elements: (1) an agreement between two or more persons to achieve an unlawful
21
     objective; (2) an overt act in furtherance of the illegal purpose; and (3) the requisite intent to
22
     defraud the United States. See, e.g., United States v. Touhey, 867 F.2d 534, 537 (9th Cir. 1989).
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           Case 2:14-cr-00232-GMN-NJK Document 77 Filed 09/22/16 Page 9 of 15



 1   Among other differences, tax evasion requires proof of a tax deficiency. Conspiracy does not. For

 2   that reason alone, the Defendant’s assertion that Count One of the Indictment violates his right

 3   against double jeopardy fails. In addition, it is well settled that a conspiracy to commit a

 4   substantive offense and the substantive offense are two separate and distinct crimes. Pinkerton v.

 5   United States, 328 U.S. 640, 643 (1946).

 6          Aside from the Blockburger analysis, the conduct alleged in Count One of the Indictment

 7   in the instant case is separate and distinct from that to which the Defendant pled guilty in 2006.

 8   The conspiracy to defraud the United States to which the Defendant pled guilty involved, inter

 9   alia, the Defendant’s assistance in underreporting the true amount of wages earned by employees

10   of the Club to the IRS. In other words, the Defendant’s conduct obstructed, impeded and impaired

11   the IRS’s ability to assess the proper amount of employment taxes due by the Club and its

12   employees. Count One of the instant Indictment, however, alleges that the Defendant willfully

13   evaded the payment of the employment taxes from June 28, 2006 through May 31, 2011, by

14   committing various affirmative acts. Importantly, the beginning date of this evasion was after the

15   Defendant pled guilty in the 2006 case. So although the tax deficiency is the same that existed in

16   the former prosecution, the Defendant continued on to commit affirmative acts of evasion separate

17   and distinct from those alleged in his original plea agreement.

18          Further, in support of his double jeopardy argument, the Defendant argues that he was not

19   obligated to make payments toward restitution and forfeiture at any time prior to the closing of the

20   sale of the Club. While this may be true as to The Power Company, Inc. based on The Power

21   Company, Inc.’s plea memorandum, the Defendant’s plea memorandum does not state the same.

22   See Power Company, Inc., No. 06-CR-186, Docs. 7 and 8.

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 1           Finally, on November 20, 2013, the Court determined that the Defendant had not satisfied

 2   his obligations to the IRS merely by operation of the substitution of assets. Id. at Doc. 514. 1 On

 3   appeal, the Ninth Circuit affirmed that determination. United States v. Power Co., 601 Fed. Appx.

 4   526 (9th Cir. 2015).

 5                    2. Count Two of the Indictment

 6           Count Two of the Indictment alleges that the Defendant evaded the payment of his

 7   individual income tax for tax year 2006. The Defendant did not plead guilty to any crime related

 8   to his 2006 individual income tax, nor did his plea agreement contemplate any coverage of that

 9   tax year. As such, the Defendant’s 2006 individual income tax liability was not the subject of a

10   restitution order entered following his guilty plea in the 2006 case. Nevertheless, the Defendant

11   attempts to briefly, and confusingly, argue that his evasion of payment of employment taxes for

12   2000 through 2002 and his evasion of payment of individual income tax for 2006 constituted a

13   single offense. In support of this assertion, the Defendant relies on the First Amended Order of

14   Forfeiture filed by the Court on June 24, 2008, where the Court established an order of distribution

15   of proceeds. Because the IRS had a tax lien against the Defendant for his unpaid 2006 individual

16   income taxes, it was listed in the order of distribution. The fact that the IRS was required to

17   preserve its ability to collect on the Defendant’s 2006 individual income tax liability, and did so,

18   did not afford the Defendant the right to continue to evade the payment of that tax with impunity,

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     1
21    The issues argued in this Motion were also previously litigated in Power Company, Inc., No. 06-CR-186, during the
     Defendant’s revocation of supervised release hearing (affirmed by the Ninth Circuit at United States v. Rizzolo, 472
     Fed. Appx. 638 (9th Cir. 2012)), Order Denying Defendant’s Emergency Motion to Enforce Plea Agreements and
22   Require U.S. Marshal to Obtain a Liquor License and Reopen the Business of the Club, Doc. 226, and Order Denying
     Alternate Motion to Appoint Receiver of the Club’s Business, id.
23                                                       10

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 1   nor did it constitute him pleading guilty to an offense that would bar a successive prosecution or

 2   would constitute “punishment” for such conduct. In sum, the Defendant fails to explain how Count

 3   Two of the Indictment meets the Blockburger test.

 4   III.    VINDICTIVE PROSECUTION

 5           A. Legal Standard
 6           The Due Process Clause of the Fifth Amendment prohibits a prosecutor from vindictively
 7   prosecuting a defendant for the defendant’s exercise of a statutory, procedural, or other protected
 8   right. Blackledge v. Perry, 417 U.S. 21, 27 (1974). However, the Supreme Court has held that
 9   “exceptionally clear proof” is required before a court may infer an abuse of prosecutorial
10   discretion. McCleskey v. Kemp, 481 U.S. 279, 297 (1987). Because courts ordinarily presume
11   that public officials have properly discharged their official duties, a defendant who contends that
12   a prosecutor made a charging decision in violation of defendant’s constitutional rights has a
13   demanding standard of proof.        Nunes v. Ramirez-Palmer, 485 F.3d 432, 441 (9th Cir.
14   2007) (internal citations omitted); see also United States v. Mathur, 2012 U.S. Dist. LEXIS
15   107187, 2012 WL 3135548 (D. Nev. June 8, 2012).
16           To establish a prima facie case of prosecutorial vindictiveness, “a defendant must show
17   either direct evidence of actual vindictiveness or facts that warrant an appearance of such.” United
18   States v. Lopez, 474 F.3d 1208, 1211 (9th Cir. 2007). A defendant may establish prosecutorial
19   vindictiveness by producing direct evidence of the prosecutor’s punitive motivation toward him.
20   United States v. Jenkins, 504 F.3d 694, 699 (9th Cir. 2007). Alternatively, a defendant is entitled
21   to a presumption of vindictiveness if he can show that charges were filed because he exercised a
22   statutory, procedural, or constitutional right in circumstances that give rise to an appearance of
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             Case 2:14-cr-00232-GMN-NJK Document 77 Filed 09/22/16 Page 12 of 15



 1   vindictiveness. Id. “[T]he appearance of vindictiveness results only where, as a practical matter,

 2   there is a realistic or reasonable likelihood of prosecutorial conduct that would not have occurred

 3   but for hostility or a punitive animus towards the [d]efendant because he has exercised his specific

 4   legal rights.” Id. at 700. A defendant must prove an improper prosecutorial motive through

 5   objective evidence before any presumption of vindictiveness attaches. United States v. Montoya,

 6   45 F.3d 1286, 1299 (citing United States v. Goodwin, 457 U.S. 368, 380 n.12 (1982)).

 7             Once a presumption of vindictiveness arises, the burden shifts to the prosecution to show

 8   that “independent reasons or intervening circumstances dispel the appearance of vindictiveness

 9   and justify its decisions.” United States v. Hooton, 662 F.2d 628, 634 (9th Cir. 1981), cert. denied,

10   455 U.S. 1004 (1982); see also Blackledge, 417 U.S. at 29 n.7; Garza-Juarez, 992 F.2d at 906;

11   United States v. Ruesga-Martinez, 534 F.2d 1367, 1369-70 (9th Cir. 1976).

12             B. The Defendant Fails to Demonstrate Vindictive Prosecution

13             The Defendant argues in his Motion to Dismiss, p. 36, and his Second Supplement, p. 5,

14   that the grand jury indicted him in the instant case in response to his Motion to Clarify or in the

15   Alternative Reduce Restitution in Case No. 06-cr-186, 2 in order to allow the Government to avoid

16   providing an accurate accounting for amounts due by the Defendant. The Defendant claims that

17   the Government received funds, and then failed to account for and apply said funds to the

18   Defendant’s debts. Defendant’s Motion, p. 37.

19             Here, the Defendant has not satisfied either prong of the test to determine whether or not a

20   particular prosecution is vindictive. The Defendant has provided absolutely no direct evidence of

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22   2
         Power Company, Inc., No. 06-CR-186, Doc. 506.

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 1   vindictiveness or cited any evidence that objectively provides the appearance of vindictiveness.

 2   Moreover, the Government retains broad prosecutorial discretion and the Supreme Court has made

 3   it clear that the discretionary decisions of prosecutors are “particularly ill-suited for judicial

 4   review.” Wayte, 470 U.S. at 607. This is because as representatives of the co-equal executive

 5   branch of government, the prosecution’s authority to bring charges against a defendant is founded,

 6   inter alia, on the principle of separation of powers, and generally is not subject to supervision by

 7   the judicial branch. Here there is no proof of an abuse of prosecutorial discretion, let alone

 8   “exceptionally clear proof” as required by McCleskey v. Kemp, supra.

 9          Although not required, the Government can show here that sufficient independent reasons

10   or intervening circumstances dispel any appearance of vindictiveness and justify its prosecutorial

11   decisions. While the Defendant submits that he was indicted in response to exercising his right to

12   file a motion with the Court, the Indictment alleges criminal conduct that spanned a time period of

13   years. As stated above, the Indictment alleges that the Defendant owes the IRS $1,723,340.31 in

14   employment taxes for the calendar years 2000 through 2002. From June 28, 2006 and continuing

15   up to and including May 31, 2011, the Defendant concealed and attempted to conceal from the

16   IRS the nature and extent of his assets and the location thereof; by making false statements to

17   agents and employees of the IRS; by placing funds and property in the names of nominees; and by

18   placing funds and property beyond the reach of process.

19          Additionally, the Defendant in fact owes the IRS $861,075 in individual income tax for

20   calendar year 2006. From March 31, 2008 and continuing up to and including May 31, 2011, the

21   Defendant concealed and attempted to conceal from the IRS the nature and extent of his assets and

22   the location thereof; by making false statements to agents and employees of the IRS; by placing

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 1   funds and property in the names of nominees; and by placing funds and property beyond the reach

 2   of process. These are substantive and significant criminal acts that formed an entirely independent

 3   basis to bring a new criminal case against the Defendant despite the fact that he had been

 4   previously prosecuted for other conduct. The Defendant has therefore failed to show that the

 5   instant prosecution is vindictive.

 6                                              Conclusion

 7          The instant Indictment does not violate the Defendant’s right against double jeopardy

 8   because each count sets forth criminal conduct separate and apart from each other and from his

 9   initial criminal case. Likewise, the Defendant fails to make the requisite showing that the

10   government acted vindictively in bringing the instant prosecution against him. For those reasons,

11   the United States respectfully submits that the Court should deny the Defendant’s Motion,

12   Supplement, and Second Supplement.

13          Dated this the 22nd day of September, 2016.

14                                                            Respectfully Submitted,

15                                                            DANIEL G. BOGDEN
                                                              United States Attorney
16                                                            /s/ Rebecca J. Sable
                                                              REBECCA J. SABLE
17                                                            Trial Attorney
                                                              United States Department of Justice,
18                                                            Tax Division

19

20                                                            PHILLIP N. SMITH, JR.
                                                              Assistant United States Attorney
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 1                                          CERTIFICATION

 2          This is to certify that the undersigned has timely filed and served the Defendant with a

 3   copy of Government’s Response to Defendant’s Motion to Dismiss Indictment, Supplement to

 4   Motion to Dismiss Indictment and Second Supplement to Motion to Dismiss Indictment by means

 5   of ECF filing.

 6
     DATED:           September 22, 2016.
 7
                                                              //s//
 8                                                     ___________________________
                                                       REBECCA J. SABLE
 9                                                     Trial Attorney
                                                       Department of Justice, Tax Division
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